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                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF MARYLAND
       CHAMBERS OF                                                                    101 WEST LOMBARD STREET
   BRENDAN A. HURSON                                                                 BALTIMORE, MARYLAND 21201
UNITED STATES DISTRICT JUDGE                                                                 (410) 962-0782
                                                                                    MDD_BAHChambers@mdd.uscourts.gov




                                             February 15, 2025

                               LETTER TO ALL COUNSEL OF RECORD

     Re:     PFLAG, Inc., et al., v. Donald J. Trump et al.
             Civil No. 25-337-BAH

     Dear Counsel:

             I am in receipt of Defendants’ motion to clarify the Court’s February 13, 2025 TRO. See
     ECF 63. Defendants note that, as currently written, the TRO could be interpreted to compel action
     related to “agencies that are not defendants in this case . . . and that are not otherwise restrained
     under the injunctive relief provided” in the TRO. Id. at 2. The Court agrees that the TRO was
     intended to extend only to the agencies, subagencies, and individuals listed in the second paragraph
     on the first page of the TRO, as these are the only defendants in the case. Thus, assuming the
     Health Resources and Services Administration is a subagency of Health and Human Services, it
     would appear correct that “the third paragraph of the [TRO] require[s] written notice to HHS and
     its subagencies, as well as NSF, but no other agencies.” Id. To the extent clarification on that
     point is needed, the Court is inclined to provide it by simply entering the proposed order attached
     to Defendants’ filing.

             However, Defendants’ motion notes that Plaintiffs wished to review the filing and provide
     a response. ECF 63, at 3 n.2. I ask that Plaintiffs please provide a response on the docket as soon
     as possible, but no later than Tuesday, February 18, at noon. I also encourage the parties to discuss
     the matter further and, if necessary, submit a joint proposed order addressing any clarification that
     is needed.

            I am sending this letter to counsel via email but intend to docket it when the Clerk’s Office
     reopens on Tuesday.

                                                   Sincerely,

                                                           /s/

                                                   Brendan A. Hurson
                                                   United States District Judge
